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expert opinion cannot change that deficiency, and the idea that a claim construction might finally
motivate Plaintiffs to find the required first polyol in Padagis’s product makes no sense. Far
from delaying the schedule, supplemental claim construction could help resolve or narrow the
parties’ dispute regarding infringement.

Padagis therefore respectfully requests that the Court order supplemental claim construction
briefing on the schedule proposed in Padagis’s initial letter (D.I. 217); i.e.,

 Simultaneous opening briefs (7 page limit)          May 15, 2024
 Simultaneous responsive briefs (4 page limit)       May 29, 2024
 Hearing                                             June 2024 (at the Court’s convenience)



                                                       Respectfully submitted,

                                                       /s/ John C. Phillips, Jr.

                                                       John C. Phillips, Jr. (#110)

cc:    All Counsel of Record (via CM/ECF & email)




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